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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


PETER NORMAN DABISH #786892,

               Petitioner,                                   Hon. Robert J. Jonker

v.                                                           Case No. 2:17-cv-10782

RANDALL HAAS,

            Respondent.
____________________________________/

                                              ORDER

       This matter is before the Court on Petitioner’s Motion to Reopen Case. (ECF No. 18.) As

discussed herein, Petitioner’s motion will be granted.

       Petitioner initiated this habeas corpus action on March 10, 2017, challenging his convictions

for first-degree felony murder and torture following a jury trial in the Wayne County Circuit Court.

On March 6, 2019, the Court granted Petitioner’s motion to stay this matter so that Petitioner could

return to state court to properly exhaust certain claims for relief. (ECF No. 14.) The Court’s Order

instructed Petitioner to accomplish the following: (1) pursue relief in state court within 30 days; and

(2) file a motion to re-open this case and amend his petition to include any subsequently exhausted

claims within 30 days after a final decision by the Michigan Supreme Court. Petitioner was also

instructed to include a proposed amended petition.

       Petitioner indicates in his motion that he has complied with the Court’s Order and now moves

to re-open the case and allow him to file an amended/supplemental petition setting forth the exhausted

state claims. Consistent with the Order, Petitioner has also filed an amended/supplemental habeas

petition. (ECF No. 19.)
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       In light of the foregoing, the motion to reopen is GRANTED. Respondent shall file an answer

or other pleading within 180 days of Petitioner’s amended petition. Petitioner may submit a reply to

Respondent’s answer within 42 days of the filing of Respondent’s answer.

       IT IS SO ORDERED.

Dated: September 15, 2023                                    /s/ Sally J. Berens
                                                           SALLY J. BERENS
                                                           U.S. Magistrate Judge




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